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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION

 RELLAINE DE LEYOLA,                       Case No.: 1:20-cv-20699

             Plaintiff;                    COMPLAINT AND DEMAND FOR
       vs.                                 JURY TRIAL FOR:
 CAPITAL ONE BANK (USA), N.A.,
                                           1. VIOLATIONS OF THE
             Defendant(s).                    TELEPHONE CONSUMER
                                              PROTECTION ACT [47 U.S.C.§
                                              227 ET. SEQ.]

                                           2. VIOLATIONS OF THE
                                              FLORIDA CONSUMER
                                              COLLECTION PRACTICS ACT
                                              [FLA. STAT.§§ 559.55-559.785)




       Plaintiff, RELLAINE DE LEYOLA, (“Plaintiff”), through her attorneys,
 alleges the following against Defendant, CAPITAL ONE BANK (USA), N.A.,
 (“Defendant”):
                             NATURE OF THE CASE
       1.    Plaintiff brings this action seeking damages and any other available
  legal or equitable remedies resulting from the illegal actions of CAPITAL ONE
  BANK (USA), N.A., (“Defendant”), in negligently, knowingly, and/or willfully
  communicating with Plaintiff in connection with the collection of alleged debts in
  violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C.§ 227
  et. seq., and the Florida Consumer Collection Practices Act ("FCCPA''), FLA.
  STAT.§§ 559.55-559.785.


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                             JURISDICTION & VENUE
       2.     Jurisdiction of this Court arises under 47 U.S.C. 227 and 28 U.S.C. §
  1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.
  Venue in this District is proper in that the Defendant transacts business here
       3.     Further, Plaintiff resides in Miami-Dade County, Florida.
                                      PARTIES
       4.     Plaintiff, RELLAINE DE LEYOLA, (“Plaintiff”), is a natural person
  residing in Homestead, Florida.
       5.     Upon information and belief, the Defendant, is a corporation engaged
  in the business of collecting debt in this state and in several other states, with its
  principal place of business located in Richmond, Virginia. The principal purpose
  of Defendant is the collection of debts in this state and several other states, and
  Defendant regularly attempts to collect debts alleged to be due another.
       6.     Defendant is engaged in the collection of debts from consumers using
  the mail and telephone. Defendant regularly attempts to collect consumer debts
  alleged to be due to another. Defendant is a ‘‘debt collector’’ as defined by the
  (“FCCPA”).
                             FACTUAL ALLEGATIONS
       7.     Within one year prior to the filing of this action, Defendant contacted
  Plaintiff to collect money, property or their equivalent, due or owing or alleged to
  be due or owing from a natural person by reason of a consumer credit transaction
  and/or "consumer debt.".
       8.     Defendant constantly and continuously called Plaintiff at her
  telephone number ending in 3073. Defendant placed scores of calls to Plaintiff
  from telephone number (800) 955-6600 from September 2019 through February
  2020.



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          9.    Defendant communicated with Plaintiff with such frequency as to be
  unreasonable under the circumstances and to constitute harassment often calling
  on a daily basis. On any given day, Defendant would call upwards of four (4)
  times in a single day. This frequency of calls took place on a near daily basis for
  approximately six (6) months.
          10.   Within one year prior to the filing of this action, Defendant
  communicated with Plaintiff with such frequency as to be unreasonable under the
  circumstances and to constitute harassment.         Not only did Defendant place
  upwards of four (4) calls a day for six (6) months, Defendant also continued to
  call Plaintiff after she specifically told Defendant to stop calling her. The Fact
  that Defendant did not honor Plaintiff’s simple request for a cease of further
  telephone calls further evidences Defendant’s intent to abuse, harass or annoy
  Plaintiff with its barrage of collection calls.
          11.   The natural and probable consequences of Defendant’s conduct was to
  harass, oppress or abuse Plaintiff in connection with the collection of the alleged
  debt.
          12.   On or about October 15, 2019, Plaintiff answered one of Defendant’s
  calls and advised an agent that Defendant was to cease placing any further calls to
  Plaintiff and her cellular telephone. Despite these clear instructions, Defendant
  continued to place its autodialed collection calls to Plaintiff’s cellular telephone
  thereafter. Plaintiff is informed, believes, and thereon alleges that Defendant has
  placed at least one hundred (100) additional autodialed collection calls to
  Plaintiff’s cellular telephone since October 15, 2019.
          13.   Defendant and/or its agent(s) used an “automatic telephone dialing
  system”, as defined by 47 U.S.C. § 227(a)(1) to place these aforementioned
  collection calls to Plaintiff. The dead air that the Plaintiff experienced on the calls
  that she received (i.e., when Plaintiff answered there was several seconds where

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  no other person was on the other end) is indicative of the use of an automatic
  telephone dialing system.
       14.    This “dead air” is commonplace with autodialing and/or predictive
  dialing equipment. It indicates and evidences that the algorithm(s) being used by
  Defendant’s and/or its agent’s autodialing equipment to predict when the live
  human agents are available for the next call has not been perfected and/or has not
  been recently refreshed or updated. Thus resulting in the autodialer placing a call
  several seconds prior to the human agent’s ability to end the current call he or she
  is on and be ready to accept the new connected call that the autodialer placed,
  without human intervention, to Plaintiff.
       15.    The dead air is essentially the autodialer holding the call it placed to
  Plaintiff until the next available human agent is ready to accept it. Should the call
  at issue been manually dialed by a live human being, there would be no such dead
  air as the person dialing Plaintiff’s cellular telephone would have been on the
  other end of the call the entire time and Plaintiff would have been immediately
  greeted by said person.
       16.    Defendant’s calls constituted calls that were not for emergency
  purposes as defined by 47 U.S.C. § 227(b)(1)(A).
       17.    Defendant’s calls were placed to a telephone number assigned to a
  cellular telephone service for which Plaintiff incurs a charge for incoming calls
  pursuant to 47 U.S.C. § 227(b)(1).
       18.    As of October 15, 2019, when Plaintiff first demanded that Defendant
  cease placing its calls to her cellular telephone, any such consent for Defendant to
  place its autodialed calls (assuming it existed in the first place), was revoked by
  Plaintiff. Accordingly, Defendant did not have Plaintiff’s “prior express consent”
  to receive calls using an automatic telephone dialing system on her cellular
  telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

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       19.    As a result of Defendant’s alleged violations of law by placing these
  automated calls to Plaintiff’s cellular telephone without prior express consent,
  Defendant caused Plaintiff harm and/or injury such that Article III standing is
  satisfied in at least the following, if not more, ways:
              a. Invading Plaintiff’s privacy;
              b. Electronically intruding upon Plaintiff’s seclusion;
              c. Intrusion into Plaintiff’s use and enjoyment of her cellular
              telephone;
              d. Impermissibly occupying minutes, data, availability to answer
              another call, and various other intangible rights that Plaintiff has as to
              complete ownership and use of her cellular telephone;
              e. Causing Plaintiff to expend needless time in receiving, answering,
              and attempting to dispose of Defendant’s unwanted calls.

                            FIRST CAUSE OF ACTION
                      (Violations of the TCPA, 47 U.S.C. § 227)
       20.     Plaintiff incorporates by reference all of the above paragraphs of this
 Complaint as though fully stated herein.
       21.     Defendant violated the TCPA. Defendant’s violations include, but
 are not limited to the following:
       (a)    Within four years prior to the filing of this action, on multiple
 occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in
 pertinent part, “It shall be unlawful for any person within the United States . . . to
 make any call (other than a call made for emergency purposes or made with the
 prior express consent of the called party) using any automatic telephone dialing
 system or an artificial or prerecorded voice — to any telephone number assigned to
 a . . . cellular telephone service . . . or any service for which the called party is
 charged for the call.


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       (b)     Within four years prior to the filing of this action, on multiple
 occasions, Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s
 cellular telephone using an artificial prerecorded voice or an automatic telephone
 dialing system and as such, Defendant knowing and/or willfully violated the
 TCPA.
       22.      As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is
 entitled to an award of five hundred dollars ($500.00) in statutory damages, for
 each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
 that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled
 to an award of one thousand five hundred dollars ($1,500.00), for each and every
 violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
       23.      Plaintiff is also entitled to seek injunctive relief prohibiting
 such conduct in the future.

                           SECOND CAUSE OF ACTION
  (Violations of the Florida Consumer Collection Practices Act, FLA. STAT. §§
                                   559.55—559.785)
        24. Plaintiff incorporates by reference all of the above paragraphs of this
             Complaint as though fully stated herein.
       25.     Defendant violated the FCCPA. Defendant’s violations include,
 but are not limited to, the following:
               a)    Defendant violated FLA. STAT. § 559.72(7) by willfully
       communicating with a debtor or any member of his or her family with
       such frequency as can reasonably be expected to harass a debtor or her or
       his family, or willfully engage in other conduct which can reasonably be
       expected to abuse or harass a debtor or any member of her or his family.
       26.     Defendant’s conduct as detailed above were done willfully, for the
 purpose of harassing Plaintiff to pay the alleged debt.


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          27.   As a result of the foregoing violations of the FCCPA, Defendant is
 liable to Plaintiff for actual damages, statutory damages, and attorney’s fees and
 costs.
                              PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that judgment be entered
 against Defendant for the following:
          a)    An injunction prohibiting Defendant from contacting Plaintiff on
 Plaintiff’s cellular telephone using an automated dialing system pursuant to 47
 U.S.C. § 227(b)(3)(A); and
          b)    As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1),
 Plaintiff is entitled to and requests five hundred dollars ($500.00) in statutory
 damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B); and
          c)    As a result of Defendant’s willful and/or knowing violations of 47
 U.S.C. § 227(b)(1), Plaintiff is entitled to and requests treble damages, as provided
 by statute, up to one thousand five hundred dollars ($1,500.00), for each and every
 violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and
          d)    Actual damages pursuant to FLA. STAT. § 559.77(2) for the
 emotional distress suffered as a result of both the intentional and/or negligent
 FCCPA violations, in amounts to be determined at trial and for Plaintiff.
          e)    Statutory damages from Defendant pursuant to FLA. STAT. §
 559.77(2); and
          f)    Costs and reasonable attorney’s fees pursuant to pursuant to FLA.
 STAT. § 559.77(2); and
          g)    Awarding Plaintiff any pre-judgment and post-judgment interest as
 may be allowed under the law; and




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  Dated: February 12, 2020
